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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

 

-against-
KARLOS ALBERTO DE LA PUERTA : 18 Cr. 782-1 (GBD)
RODRIGUEZ, EDUARDO COCA BRISENO, 18 Cr. 782-2 (GBD)
RAMON DE LA PUERTA RODRIGUEZ, MARIA : 18 Cr. 782-4 (GBD)
TERESA CARBAJAL SESMA, SANDRA MARIA : 18 Cr. 782-6 (GBD)
DE OLIVEIRA LINDO,

18 Cr. 782-7 (GBD)

Defendants.

GEORGE B. DANIELS, United States District Judge:
The initial appearance currently scheduled for October 20, 2020 at 10:00 a.m. is adjourned
to December 8, 2020 at 10:00 a.m. Time is excluded in the interest of justice pursuant to the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7), until that time.

Dated: New York, New York
October 19, 2020

SO ORDERED.

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Prrcge bh Dork
GEOR B. DANIELS
nited States District Judge

 

 
